               IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                        WESTERN DIVISION
                      NO.   5:09-CR-257-1BO

UNITED STATES OF AMERICA
                                           Jt1DGMBNT
          v.
MARIO EASEVOLI



     Pursuant to the Preliminary Order of Forfeiture entered by

the Court on ~~ JLl     , 2010,   judgment is hereby entered against
                  \

defendant, MARIO EASEVOLI, in the amount of $7,500,000.             Post­

judgment interest shall accrue at the rate of        ."3'51-.
    Thi• .l,t.{day of   ~           , 2010.




                                     DENNIS P. IAVARONE
                                     Clerk
                                     U. S. District Court




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